

People v Llamos (2024 NY Slip Op 02155)





People v Llamos


2024 NY Slip Op 02155


Decided on April 23, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 23, 2024

Before: Oing, J.P., Moulton, Mendez, Shulman, Pitt-Burke, JJ. 


Ind. No. 456/19 Appeal No. 2094 Case No. 2020-00829 

[*1]The People of the State of New York, Respondent, 
vVictorio Llamos, Also Known as Victorio Llanos, Also Known as Victorio Llamas, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Benjamin Welikson of counsel), and Cleary Gottlieb Steen &amp; Hamilton LLP, New York (Andrew O'Connor of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Kalani A. Browne of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Margaret L. Clancy, J.), rendered September 12, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 23, 2024
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








